                   Case 19-12537-KG         Doc 11   Filed 12/16/19       Page 1 of 2



                         IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                         *

GIGAMEDIA ACCESS CORPORATION, *                         Case No. 19-12537-KG
                                                        (Chapter 7)
         Debtor.                               *

*        *       *        *         *   *      *        *     *       *        *        *

                     ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

         Lawrence D. Coppel, and the firm of Gordon Feinblatt LLC, hereby enter their
appearance in the above-captioned case as counsel to World Total Return Fund, LLLP and

request, pursuant to Bankruptcy Rule 9010(b), that the Clerk of this Court enter the following

name and address on the general matrix for this case, and request that copies of all notices and

pleadings, whether given pursuant to Bankruptcy Rule 2002 or otherwise, be sent to the

undersigned at the following address:

                          Lawrence D. Coppel, Esquire
                          Gordon Feinblatt LLC
                          233 East Redwood Street
                          Baltimore, Maryland 21202
                          (410) 576-4238 Phone
                          (410) 576-4196 Fax
                          E-mail: lcoppel@gfrlaw.com



Dated: December 16, 2019                       /s/ Lawrence D. Coppel
                                               Gordon Feinblatt LLC
                                               233 East Redwood Street
                                               Baltimore, Maryland 21202
                                               (410) 576-4238
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                                               lcoppel@gfrlaw.com

                                               Attorneys for World Total Return Fund, LLLP




7478561.1 11723/143214 12/13/2019
                  Case 19-12537-KG       Doc 11        Filed 12/16/19   Page 2 of 2




                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 16, 2019, a copy of the foregoing Entry of

Appearance and Request for Notices was sent via CM/ECF electronic mail to the following:

                 Jeffrey M. Schlerf, Esquire
                 Fox Rothschild LLP
                 Citizens Bank Center, Suite 300
                 919 North Market Street
                 P.O. Box 2323
                 Wilmington, DE 19899-2323
                 Email: jschlerf@foxrothschild.com

                 M. Claire McCudden, Esquire
                 Law Office of Susan E. Kaufman, LLC
                 919 North Market Street, Suite 460
                 Wilmington, DE 19801
                 Email: cmccudden@skaufmanlaw.com

and by first-class mail, postage prepaid, to:

                 Jeoffrey L. Burtch, Chapter 7 Trustee
                 P.O. Box 549
                 Wilmington, DE 19899

                 U.S. Trustee
                 Office of the United States Trustee
                 J. Caleb Boggs Federal Building
                 844 King Street, Suite 2207
                 Lockbox 35
                 Wilmington, DE 19801


                                                         /s/ Lawrence D. Coppel




                                                  2
7478561.1 11723/143214 12/13/2019
